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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                         Case No. 3:20cr40-MCR

SHELLEY JOHNSON
____________________________/

                      REPORT AND RECOMMENDATION
                       CONCERNING PLEA OF GUILTY

      The Defendant, by consent, has appeared before me pursuant to Rule 11, Fed.

R. Crim. P., and has entered a plea of guilty to Counts One, Two, Three, Four, Five,

Six, Seven, Ten, Eleven, and Twelve of the Indictment. After cautioning and

examining the Defendant under oath concerning each of the subjects mentioned in

Rule 11, I determined that the guilty plea was knowing and voluntary and that the

offenses charged are supported by independent bases in fact containing each of the

essential elements thereof. I therefore recommend that the plea of guilty be accepted

and that the Defendant be adjudicated guilty and have sentence imposed accordingly.

Dated:       December 1, 2020.

                                 /s/   Charles J. Kahn, Jr.
                                 CHARLES J. KAHN, JR.
                                 UNITED STATES MAGISTRATE JUDGE
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                         NOTICE TO THE PARTIES

       Objections to these proposed findings and recommendations may be filed
within twenty-four (24) hours after being served a copy thereof. Any different
deadline that may appear on the electronic docket is for the court’s internal use
only, and does not control. A copy of objections shall be served upon the
magistrate judge and all other parties. A party failing to object to a magistrate
judge’s findings or recommendations contained in a report and recommendation
in accordance with the provisions of 28 U.S.C. § 636(b)(1) waives the right to
challenge on appeal the district court's order based on unobjected-to factual and
legal conclusions. See U.S. Ct. of App. 11th Cir. Rule 3-1; 28 U.S.C. § 636.




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